                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

SNODGRASS-KING PEDIATRIC                )
DENTAL ASSOCIATES, P.C. and             )
DAVID J. SNODGRASS, D.D.S.,             )
                                        )      Case No. 3:14-cv-0654
         Plaintiffs,                    )
v.                                      )
                                        )
DENTAQUEST USA INSURANCE CO.            )      JUDGE HAYNES
INC.; et al.,                           )      MAJISTRATE JUDGE BROWN
                                        )
         Defendants.                    )


                         DentaQuest USA Insurance Co., Inc.’s
              Memorandum of Law in Support of Motion for Summary Judgment




                                        Respectfully submitted,


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                        DentaQuest USA Insurance Co., Inc.’s
             Memorandum of Law in Support of Motion for Summary Judgment

         Pursuant to Fed. R. Civ. P. 56, defendant DentaQuest USA Insurance Co., Inc. (“Den-

taQuest USA”) submits this Memorandum in Support of its Motion for Summary Judgment.

I.       INTRODUCTION

         In 2013, DentaQuest USA became TennCare’s dental-benefits manager (“DBM”). In that

role, it was required to build a quality and cost-efficient network of dental providers large

enough to provide sufficient access to TennCare members. In forming the network, DentaQuest

USA determined that practices with multiple locations should be set aside unless they became

necessary to meet access requirements in particular geographic regions. Large group practices

with multiple locations make access difficult to measure and cause extra administrative costs.

DentaQuest USA’s decision caused David Snodgrass, DDS and Snodgrass-King Pediatric Dental

Associates, P.C. (“Snodgrass-King”) (collectively, “Plaintiffs”), a large group practice with mul-

tiple locations in Middle Tennessee, to not be invited into the TennCare network. In response,

Plaintiffs filed this action, alleging under 42 U.S.C. § 1983 that DentaQuest USA’s decision vio-

lated several of their rights secured by the Constitution or federal law.

         Plaintiffs’ claims fail for two fundamental reasons. First, because DentaQuest USA’s

network-building decision does not constitute state action, it cannot be attributed to the State and

cannot support Plaintiffs’ claims. Second, even if there were state action, Plaintiffs’ underlying

claims rely on conjecture and innuendo—not facts—and therefore cannot prevent summary

judgment. Accordingly, the Court should grant DentaQuest USA’s motion in its entirety.




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II.    FACTUAL BACKGROUND

       A.     TennCare’s Dental Program

       TennCare is the State of Tennessee’s Medicaid program. (Statement of Undisputed Facts

(“SUF”) ¶ 2). The program offers, among other benefits, dental coverage for its members who

are under the age of 21. (SUF ¶ 6). In 2002, the State carved out the dental program from the

larger TennCare program and began contracting with a DBM to administer it. (SUF ¶ 7). To se-

lect a DBM, the State would periodically issue requests for proposal (“RFPs”), and prospective

contractors would respond through a competitive-bidding process. The winning DBM would be

awarded the TennCare contract. (SUF ¶ 8).

       On February 1, 2013, the State issued an RFP. (SUF ¶ 15). DentaQuest USA, an insur-

ance company and DBM, submitted the winning proposal and ultimately signed a contract with

TennCare in early May 2013 (“2013 Contract”) (SUF ¶¶ 1, 18). Although this was DentaQuest

USA’s first TennCare contract, its corporate affiliate, Doral Dental of Tennessee, LLC—

purchased by DentaQuest USA’s corporate parent, DentaQuest, LLC, in 2004—had been

TennCare’s DBM from 2002 to 2010. (SUF ¶ 19).

       B.     The 2013 Contract Adds New Risk-Sharing Provisions

       Before 2013, TennCare-DBM contracts were administrative service contracts that paid

the DBM a fixed per-member-per-month fee to administer the dental program. (SUF ¶¶ 9-10).

The DBM was only required to be a third-party administrator (SUF ¶ 11), and TennCare re-

mained fully responsible for all claims and program costs (SUF ¶ 12). The program’s perfor-

mance did not affect the DBM’s compensation. (SUF ¶ 12).

       In 2013, the contract changed significantly by adding risk-sharing provisions. (SUF ¶ 21).

Under those new provisions, DentaQuest USA would incur up to 50% of program losses suffered

up to a maximum of $8 million or, if contract requirements were otherwise met, it would share in

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50% of program cost savings up to a maximum of $8 million (SUF ¶ 22). Further reflecting the

new risk-sharing component, the flat per-member-per-month administrative fee was reduced

from $0.455 to $0.30, and DentaQuest USA was required to be licensed as a risk-bearing entity

with protections against insolvency. (SUF ¶¶ 23-27).

       Because of these risk-sharing provisions, particularly the risk of incurring an $8 million

loss, DentaQuest USA had total control over network-building decisions. (SUF ¶¶ 27, 37-38). By

contrast, TennCare had no role in network building and could not overrule DentaQuest USA’s

decisions. (SUF ¶¶ 32-33). In fact, had DentaQuest USA lacked full control, it could not have

entered the 2013 Contract under the same risk-sharing provisions. (SUF ¶ 38). The 2013 Con-

tract’s other terms reinforce this control, providing that DentaQuest USA was not required to

contract with any providers (a) beyond those necessary to meet the network’s needs (SUF ¶ 29);

(b) just because the provider previously was a TennCare provider (SUF ¶ 30); or (c) if Den-

taQuest USA thought such a contract would adversely affect the network (SUF ¶ 31).

       C.      The Network-Building Process

       Under the 2013 Contract, DentaQuest USA was required to build a quality, cost-effective

network of dental providers that was large enough to provide adequate access to TennCare mem-

bers. (SUF ¶ 47). Unlike some states, Tennessee does not require a DBM to include in the pro-

vider network every willing provider who applies for admission. (SUF ¶ 4). As a result, the

DBM can build the network it believes best offers quality, access, and cost efficiency. (SUF ¶ 5).

       DentaQuest USA’s network-building process had two phases: First, it selected providers

with whom DentaQuest USA, based on various criteria, preferred to include in the network. Sec-

ond, it matched those preferred providers with the “pool” of providers who had been separately

validated by TennCare and were therefore eligible to be included in the network. (SUF ¶ 67). If,

after matching the originally preferred providers against TennCare’s pool of providers, there
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were insufficient providers to ensure adequate access to TennCare members, then DentaQuest

USA would add additional providers (who were originally not on the preferred list) to reach the

necessary access levels. (SUF ¶¶ 84-86).

       Throughout this process, DentaQuest USA and TennCare acted consistently with the

2013 Contract’s terms. DentaQuest USA—largely through two employees, Cheryl Polmatier and

Barry Major—built the network without any participation or review by TennCare. (SUF ¶¶ 32-

33, 58, 66). Ultimately, DentaQuest USA formed a provider network that met all of the require-

ments for network adequacy, access, and quality of care under the 2013 Contract, as confirmed

by a federally mandated review by an independent third party (SUF ¶¶ 94-95).

       D.      Plaintiffs are Not Invited to Join the Network

       When DentaQuest USA became the new DBM in 2013, Plaintiffs, like all providers seek-

ing to be invited into the new network, submitted their revalidation application to TennCare. Af-

ter revalidation, Plaintiffs were within the TennCare pool of dentists eligible to be invited into

the network. (SUF ¶ 88). Through DentaQuest USA’s separate process of selecting preferred

providers, however, Snodgrass-King was set aside because it was a large group practice with

more than three offices. (SUF ¶89). When DentaQuest USA performed its geo-access analysis, it

determined that the areas where Snodgrass-King operated—generally the populous areas in and

near Davidson County—did not have additional access needs. (SUF ¶¶ 90-91). As a result,

Snodgrass-King was not needed to meet access requirements, and therefore Plaintiffs were not

invited to join the provider network (SUF ¶ 93).

III.   LEGAL STANDARD

       Under Fed. R. Civ. 56(c), summary judgment shall be granted if “the pleadings, deposi-

tions, answers to interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is entitled to a

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judgment as a matter of law.” To prevail, the moving party must show the absence of a genuine

issue of material fact to an essential element of the opposing party’s claim. See Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). For its part, the court must view the evidence and draw all

reasonable inferences in the light most favorable to the non-moving party. See Matsushita Elec-

tric Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). If the non-moving party fails to

make an adequate showing on an essential element, the moving party is entitled to summary

judgment as a matter of law. Williams v. Ford Motor Co., 187 F.3d 533, 537-38 (6th Cir. 1999)

(citing Celotex, 477 U.S. at 322-3).

       To avoid summary judgment, the non-moving party must “go beyond the pleadings and

come forward with specific facts to demonstrate that there is a genuine issue for trial.” Chao v.

Hall Holding Co., 285 F.3d 415, 424 (6th Cir. 2002) (citations omitted). In that regard, the “mere

existence of a scintilla of evidence in support of the [non-moving party’s] position will be insuf-

ficient; there must be evidence on which the jury could reasonably find for the [non-moving par-

ty].” Shah v. Racetrac Petroleum Co., 338 F.3d 557, 566 (6th Cir. 2003) (quoting Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 254 (1986)). Likewise, evidence that is “merely colorable” or

“not significantly probative” will not prevent summary judgment. Anderson, 477 U.S. at 249.

IV.    ARGUMENT

       A.      Plaintiffs Have Failed to Establish State Action Because the Challenged
               Conduct—DentaQuest USA’s Not Inviting Plaintiffs to Join the Provider
               Network—Cannot be Attributed to the State

       All of Plaintiffs’ claims proceed under 42 U.S.C. § 1983, which requires that they estab-

lish two elements: (1) a deprivation of a right secured under the Constitution or federal law and

(2) that the deprivation was committed under color of state law. American Mfg. Mut. Ins. Co. v.

Sullivan, 526 U.S. 40, 49-50 (1999). As a threshold matter, all of Plaintiffs’ claims fail because

DentaQuest USA’s action was not taken under color of state law.

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        “Under color of state law” is treated and analyzed the same as “state action” under the

Fourteenth Amendment. Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922, 928-29 (1982); Paige

v. Conyer, 614 F.3d 273, 278 (6th Cir. 2010). As such, § 1983 “excludes from its reach ‘merely

private conduct, no matter how discriminatory or wrongful.’” Sullivan, 526 U.S. at 50 (quoting

Blum v. Yaretsky, 457 U.S. 991, 1002 (1982)). Because “[c]areful adherence to the ‘state action’

requirement . . . avoids imposing on the State, its agencies or officials[] responsibility for con-

duct for which they cannot fairly be blamed[,]” courts have required that the conduct causing the

deprivation be “fairly attributable to the State.” Lugar, 457 U.S. at 936-37. If a defendant’s ac-

tion is not state action, the inquiry ends. Crowder v. Conlan, 740 F.2d 447, 449 (6th Cir. 1984)

(citing Rendell-Baker v. Kohn, 457 U.S. 830, 838 (1982)).

        The state-action analysis “begins by identifying the ‘specific conduct of which the plain-

tiff complains.’” Sullivan, 526 U.S. at 51 (quoting Blum, 457 U.S. at 1004). Here, the challenged

action is DentaQuest USA’s decision not to invite Plaintiffs into the TennCare provider network.

To determine whether state action exists, courts apply three tests: the public-function test, the

state-compulsion test, and the symbiotic-relationship or nexus test. Chapman v. Higbee Co., 319

F.3d 825, 833 (6th Cir. 2003).1 DentaQuest USA’s challenged action does not constitute state

action under any of these tests.

                 1.       The public-function test

        Under the public-function test, “a private party is deemed a state actor if he or she exer-

cised powers traditionally reserved exclusively to the state.” Id. [Chapman, 319 F.3d at 833.]

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 Some Sixth Circuit panels have considered the “entwinement test,” created in Brentwood Acad. v. Tenn. Secondary
Sch. Athletic Ass’n, 531 U.S. 288, 298 (2001), a separate fourth test. See Marie v. American Red Cross, 771 F.3d
344, 362 & n.6 (6th Cir. 2014). Whether viewed separately or as a variant of the nexus test, the entwinement test
addresses whether a private entity is entwined with governmental policies or the government is entwined in the pri-
vate entity’s management. Brentwood, 531 U.S. at 296. Here, there is no contention that there were any state offi-
cials in DentaQuest USA’s management, and, to the extent any other aspects of the test apply, they are analyzed as
part of the nexus test in Part IV.A.3 infra.


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The test is construed narrowly and has been used rarely. Id. at 833-34. Before invoking the pub-

lic-function test, a court must conduct a historical analysis to determine whether the activity truly

has been traditionally and exclusively performed by the State. Wittstock, III v. Mark A. Van Sile,

Inc., 330 F.3d 899, 902 (6th Cir. 2003). The plaintiff bears the burden of demonstrating such his-

torical evidence to support a finding of a public function. See Straub v. Kilgore, 100 Fed. App’x

379, 385 (6th Cir. 2004).

       Here, there is no historical evidence that administering a dental-benefits program is tradi-

tionally and exclusively performed by the State. Courts have routinely found that similar func-

tions do not satisfy the public-function test. See, e.g., Wolotsky v. Huhn, 960 F.2d 1331, 1335

(6th Cir. 1992) (providing mental-health services not traditional and exclusive public function);

Brown v. Thomas, 624 F. Supp. 2d 593, 600 (E.D. Ky. 2008) (providing housing and care to in-

voluntarily committed persons not traditional and exclusive public function). By contrast, the

only activities found to satisfy this narrow test are indisputably traditional public functions. See,

e.g., Flagg Bros. Inc. v. Brooks, 436 U.S. 149, 157-58 (1978) (elections); Jackson v. Metro. Edi-

son Co., 419 U.S. 345, 352-53 (1974) (eminent domain). Accordingly, DentaQuest, USA’s net-

work-building decisions cannot satisfy the public-function test.

               2.      The state-compulsion test

       Similarly, the state-compulsion test does not apply. Under that test, the state must “exer-

cise such coercive power or provide such significant encouragement, either overt or covert, that

in law the choice of the private actor is deemed to be that of the state.” Wilcher v. City of Akron,

498 F.3d 516, 519 (6th Cir. 2004) (internal quotations omitted). State compulsion cannot be

found based on “mere approval of or acquiescence in the initiatives of a private party,” Blum v.

457 U.S. at 1004, or by significant state funding, see Wolotsky, 960 F2d at 1336. Plaintiff does



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not allege—much less offer evidence—that the State of Tennessee coerced DentaQuest USA’s

actions. As a result, the state-compulsion test does not apply.

                    3.       The symbiotic-relationship or nexus test

           Finally, under the symbiotic-relationship or nexus test, a private party’s action can consti-

tute state action when there is a “sufficiently close nexus between the state and the challenged

action of the regulated entity so that the action of the latter may be fairly treated as that of the

state itself.” Id. at 1335. The nexus test is construed narrowly, and its applicability depends on

the “unique facts and circumstances presented by each individual case.” Brown, 624 F. Supp. 2d

at 601. As such, it is a “necessarily fact-bound inquiry.” Lugar, 457 U.S. at 939.

           Importantly, like the state-action analysis generally, the nexus test focuses on the connec-

tion between the state and the challenged action—not the private actor. Marie, 771 F.3d at 363;

Bier v. Fleming, 717 F.2d 308, 311 (6th Cir. 1983) (state must be “intimately involved in the

challenged private conduct”). Thus, even when the private actor and the state have close relation-

ship, the nexus test is not satisfied if the government was not involved in the specific action at

issue. For example, in Cornett v. Mason Volunteer Fire Co., 85 F.3d 628, 1996 WL 242035 (6th

Cir. 1996)2, a private corporation contracted with a township to provide fire and emergency ser-

vices. When the plaintiff was suspended, she alleged it was state action because the corporation

was paid by public revenues, used government property, had a government official on its board,

and was audited by the government. Id. at *2-3. Despite those connections, the Sixth Circuit

concluded that, even if the government were involved with the fire company, there was no evi-

dence that it had anything to do with the suspension. Id. at *3; see also Adams v. Vandemark,

855 F.2d 312, 316 (6th Cir. 1988) (termination of employee by publicly funded, heavily regulat-


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    Unpublished decisions are collected and attached as Exhibit 1.


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ed non-profit not state action because ties to government played no role in termination); Crowd-

er, 740 F.2d at 450-53 (denial of privileges to doctor by publicly owned hospital operated by pri-

vate company not state action because state not involved in day-to-day operations).

       Plaintiffs challenge DentaQuest USA’s decision not to invite them into the TennCare

provider network. As a preliminary matter, courts have routinely held that managed-care organi-

zations’ (“MCOs”), health-maintenance organizations’ (“HMOs”) and similar entities’ conduct

does not constitute state action. As recently as last month, a court rejected such a claim. In Qui-

nones v. United Health Group, Inc., Civ. No. 14-00497, 2015 WL 4523499 (D. Hawaii July 24,

2015), the plaintiff alleged that the administrator of Hawaii’s Medicaid program improperly de-

nied certain medical benefits. Id. at *1. The court dismissed the claim, finding that the adminis-

trator’s conduct was not state action under the nexus test because nothing established “that the

State was involved in any way in the . . . benefits decision.” Id. at *5. The court further observed

that, “[i]f contracting, funding, and regulating was (sic) sufficient to create state action, nearly

every government contract would produce the possibility of § 1983 liability against the govern-

ment contractor”, a result “Congress did not intend.” Id.

       Other courts have reached a similar conclusion. See, e.g., Gonzalez-Maldonado v. MMM

Healthcare, Inc., 693 F.3d 244, 248 (1st Cir. 2012) (Medicare HMO’s termination of physicians

not state action); Transatlantic, LLC v. Humana, Inc., No. 8:13-cv-1925-17TBM, 2013 WL

3958361, at *2 (M.D. Fla. Aug. 1, 2013) (Medicare Advantage organization’s termination of

contract not state action); Montelione v. United Concordia, Cos., No. 09-1114, 2010 WL

653928, at 4-5 (W.D. Pa. Feb. 19, 2010) (Medicaid DBM’s termination of dentist not state ac-

tion); Drs. Pass & Bertherman, Inc. v. Neighborhood Health Plan of R.I., 31 A.3d 1263, 1270-71

(R.I. 2011) (Medicaid HMO’s varying compensation to different optometrists not state action);



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see also New Jersey Primary Care Ass’n Inc. v. New Jersey Dep’t of Human Servs., 722 F.3d

527, 537 (3d Cir. 2013) (summarily finding Medicaid MCOs not state actors).

       Against that backdrop, DentaQuest USA’s decision not to invite Plaintiffs into the net-

work does not constitute state action under the nexus test for three related reasons: (1) the State

did not jointly participate in the decision, (2) DentaQuest USA exercised its own independent

network-building judgment and did not merely implement state guidelines; and (3) the 2013

Contract gives DentaQuest USA, as an independent party with substantial financial risk under

the contract’s risk-sharing provisions, the sole authority for network building.

                       a.     The State did not participate in or review the challenged action

       First, when the State is not involved or jointly participating in the challenged conduct,

that conduct does not constitute state action. Cornett, 1996 WL 242035, at *3; Vandemark, 855

F.2d at 316-17; see also Brown, 624 F. Supp. 2d at 603-04 (no state action where state had no

role in alleged acts by contractor that ran day-to-day operations at state-owned facility). Similar-

ly, when the State cannot review or overrule a private entity’s action, that action cannot be at-

tributed to the State. See Blum, 457 U.S. at 1010 (no state action where state could not approve

or disapprove nursing home decisions).

       Here, the State did not participate in, or review—or even have the ability to review—

DentaQuest USA’s network-building decisions. (SUF ¶¶ 28-33). Cheryl Polmatier and Barry

Major both confirmed that TennCare played no role in their network building or decision not to

invite Dr. Snodgrass. (SUF ¶¶ 58-59, 66). Likewise, TennCare dental director Dr. James Gillcrist

indicated that neither he nor TennCare participated in DentaQuest USA’s network building gen-

erally or in the decision to not invite Snodgrass-King specifically. (SUF ¶¶ 32-34). No evidence

contradicts the fact that DentaQuest USA—and it alone—decided not to invite Snodgrass-King

into the network, a decision that TennCare did not and could not participate in or overrule.
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Without any participation or review by the State, the action cannot constitute State action. Cor-

nett, 1996 WL 242035, at *3; Vandemark, 855 F.2d at 316-17.

                       b.     DentaQuest USA exercised professional judgment and discre-
                              tion unrelated to state guidelines or rules

       Second, the type of decision made by DentaQuest USA involved exercising its own pro-

fessional judgment and discretion based on network-building experience, not interpreting or im-

plementing state guidelines. Those types of decisions do not constitute state action. Sullivan, 526

U.S. at 52; Blum, 457 U.S. at 1008; Polk Cty. v. Dodson, 454 U.S. 312, 318-21 (1981). In Blum,

the challenged action was a nursing home’s decision to discharge Medicaid patients. The Court

rejected the state-action claim, nothing that “[t]hose decisions ultimately turn on medical judg-

ments made by private parties according to professional standards that are not established by the

state.” Blum, 457 U.S. at 1008. Similarly, in Polk County, the challenged action was a public de-

fender’s representation of an indigent defendant. The Court again refused to find state action be-

cause “a public defender works under canons of professional responsibility that mandate his ex-

ercise of independent judgment.” Id. at 321. And in Sullivan, the challenged action was an insur-

er’s withholding of workers’ compensation benefits from employees. Again, the Court found no

state action because the insurer’s decision turned on judgment made by private parties without

standards established by the State. Sullivan, 526 U.S. at 52.

       In this case, DentaQuest USA’s network-building decisions did not involve interpreting

or implementing state laws or regulations. Rather, DentaQuest USA drew upon its experience

and expertise in network building and judgment regarding access needs, efficiency, and quality.

(SUF ¶¶ 54-59, 77-79, 89-93). Such independent decision-making does not constitute state ac-

tion. See Sullivan, 526 U.S. at 52; Blum, 457 U.S. at 1010; Polk, 454 U.S. at 321.




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                      c.      The 2013 Contract’s risk-sharing and other explicit terms
                              make DentaQuest USA entirely independent of the State

       Third, the 2013 Contract further establishes DentaQuest USA’s complete control, and the

State’s complete lack of control, over the decisions to invite providers. As an initial matter, a

contractual relationship, even accompanied by heavy regulation, does not convert a private entity

into a state actor. Rendell-Baker, 457 U.S. at 841 (holding that private contractors’ acts “do not

become acts of the government by reason of their significant or even total engagement in per-

forming public contracts.”). Here, the 2013 Contract’s terms further amplify DentaQuest USA’s

unilateral control. For example, Paragraph A.63 states that DentaQuest USA “is not required to

contract with providers beyond the number necessary to meet the needs of the enrollees nor pre-

cluded from establishing measures that are designed to maintain quality of service and control

costs and is consistent with its responsibilities to enrollees.” (SUF ¶ 39). DentaQuest USA has

indisputably met those standards, as attested by the network builders, TennCare, and an inde-

pendent review. (SUF ¶¶ 94-95). Further still, the 2013 Contract explicitly states that DentaQuest

USA is not required to contract with a provider “merely because the provider was a TennCare

provider prior to the contract start date” (SUF ¶ 30) or “if [DentaQuest USA] believes such

agreements might adversely affect the dental provider network,” (SUF ¶ 31).

       Equally importantly, the 2013 Contract includes a fundamental change from past

TennCare-DBM contracts that further underlines DentaQuest USA’s control over network deci-

sions. Unlike earlier contracts, the 2013 Contract contains risk-sharing provisions that require

DentaQuest USA to incur losses or share in savings depending on the program’s performance.

(SUF ¶¶ 21-22). Reflecting that change, the 2013 Contract also now requires DentaQuest USA to

demonstrate to the state that it has adequate protections against insolvency and meet licensure

requirements as a risk-bearing entity. (SUF ¶¶ 24-25). As a result of these changes, DentaQuest


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USA is not a mere administrator of the State’s program, but an independent party-in-interest

whose financial success or failure is connected to the network’s performance. As such, contrac-

tually and practically, DentaQuest USA has the sole authority to make network decisions, and

TennCare has no mechanism to dictate or review them. (SUF ¶¶ 32-34, 37-38). Such independ-

ent and unilateral action does not constitute state action. For example, in Drs. Pass and Berther-

man, the Rhode Island Supreme Court rejected a similar claim an HMO’s decision to compen-

sate certain doctors differently than others in Rhode Island’s Medicaid program. In doing so, the

court noted that the state health department “was not party to the participating provider agree-

ments”; “had no role in selecting which providers [the HMO] would choose to contract with”;

and “had no authority to direct how [the HMO] used its resources.” 31 A.2d at 1270-71. That

holding accords with courts’ repeated conclusion that MCO-type entities do not engage in state

action, see Gonzalez-Maldonado, 693 F.3d at 248; Quinones, 2015 WL 4523499, at *5; Mon-

telione, 2010 WL 653928, at *4, and the same conclusion must apply here.3


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  In addition, following Sullivan, the U.S. Supreme Court vacated one of the few cases to find otherwise. See Shala-
la v. Grijalva, 526 U.S. 1096 (1999) (vacating 152 F.3d 1115 (9th Cir. 1998)). Tellingly, the Court vacated the
judgment “for consideration in light of [Sullivan], Sections 4001 and 4002 of the Balanced Budget Act of 1997 . . .
and the regulations of the Secretary of Health and Human Services implementing those provisions” Id. (emphasis
added). Sections 4001-02 address revisions to Medicare Part C that authorize the Secretary of Health and Human
Services to enter into “risk sharing” contracts with HMOs.

Separately, none of this authority is undermined by Judge Echols’s preliminary finding in an earlier case involving
Dr. Snodgrass. In that case, Dr. Snodgrass sued Doral Dental of Tennessee, LLC, claiming that Doral’s alleged ac-
tions were attributable to the State. The case was settled out of court but not before Doral raised a state-action argu-
ment on a motion to dismiss. In denying that motion, Judge Echols found that Dr. Snodgrass had adequately alleged
a sufficient nexus between the state and Doral to prevent dismissal. Snodgrass v. Doral Dental of Tennessee, No.
3:08-0107, 2008 WL 2718911, at *4 (M.D. Tenn. July 10, 2008). That finding is immaterial to this case for several
reasons: First, it was at a preliminary stage and based only on the sufficiency of allegations—not developed facts at
the summary-judgment stage, as here. Second, the contract at issue was materially different than the 2013 Contract
due to the latter’s risk-sharing provisions, which make DentaQuest USA an independent party-in-interest and ex-
posed to tangible harm based on its network-building decisions. Finally, Doral Dental misapplies the nexus test. The
court states that the “specificity of the [DBM] contract” indicates that the DBM would administer the program in
“the manner in which it had been administered by the state” previously. Id. at *4. But that analysis fails to address
the sine qua non of the nexus test, namely, whether the state was sufficiently involved in the challenged action to
convert it into state action. See Cornett, 1996 WL 242035, at *3; Vandemark, 855 F.2d at 316-17; Brown, 624 F.
Supp. 2d at 603-604.


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       B.      Plaintiffs Have Failed to Demonstrate a Violation of a Right Secured by the
               Constitution or Federal Law

       While Plaintiffs’ failure to establish any state action is fatal to their claims, those claims

also fail because there has been no underlying constitutional or federal-law violation. Plaintiffs

raise four claims based upon: (1) an Equal Protection violation; (2) First Amendment retaliation;

(3) a procedural due-process violation; and (4) a deprivation of federal rights based on a Medi-

caid statute. Each claim fails.

               1.      Plaintiffs have failed to establish an Equal Protection violation

       “The Equal Protection Clause of the Fourteenth Amendment ‘protects against invidious

discrimination among similarly-situated individuals or implicating fundamental rights.’” Davis v.

Prison Health Servs., 679 F.3d 433, 438 (6th Cir. 2012) (quoting Scarbrough v. Morgan Cnty.

Bd. of Educ., 470 F.3d 250, 260 (6th Cir. 2006)). Plaintiffs claim that DentaQuest USA has dis-

criminated against otherwise network-eligible dentists or dental practices that have multiple loca-

tions in favor of those otherwise eligible dentists and dental practices that do not operate multiple

locations. (Compl. ¶¶ 77-81). Because Plaintiffs’ claims do not implicate a fundamental right or

involve a suspect class, they are subject to rational-basis review. Liberty Coins, LLC v. Good-

man, 748 F.3d 682, 693 (6th Cir. 2014).

       Rational-basis review is a “highly deferential” standard. Id. at 694. A plaintiff bears the

burden of showing that the government’s action is not rationally related to any legitimate public

interest, and the government’s actions enjoy a “strong presumption of validity.” Heller v. Doe,

509 U.S. 312, 319 (1993). Government action amounts to a constitutional violation “only if it is

so unrelated to the achievement of any combination of legitimate purposes that the court can on-

ly conclude that the government’s actions were irrational.” Liberty Coins, 748 F.3d at 694. To

overcome this high bar, a plaintiff must either “negativ[e] every conceivable basis which might


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support the government action” or “demonstrat[e] that the challenged government action was

motivated by animus or ill-will.” Davis, 679 F.3d at 438. The government, however, “has no ob-

ligation to produce evidence to sustain the rationality of its action,” and its decision may “be

based on rational speculation unsupported by evidence or empirical data.” Liberty Coins, 748

F.3d at 694.

       Here, Plaintiffs’ claim fails for multiple reasons. As a threshold matter, there is no dis-

pute that some providers in Plaintiffs’ classification—otherwise network-eligible dentists or den-

tal practices that have multiple locations—were in fact invited into the network. (Compl ¶ 28).

But even if that were not so, there are several established sound bases for not inviting multiple

location practices. A provider network must offer adequate access to its membership, and such

access is a specific requirement under the 2013 Contract. (SUF ¶ 47). Measuring access, howev-

er, is far more complex with a multiple-location practice because the number of dentists at any

given location varies by the day. (SUF ¶¶ 43, 77-79). For example, if a practice has ten dentists

and five locations, there is no automated way to calculate the number of dentists—and therefore

the level of access—at a given location since it could be evenly spread (i.e., 2-2-2-2-2), unevenly

spread (e.g., 5-2-1-1-1), or completely variable by the day. As such, a DBM cannot determine

with any predictability if an access requirement has been met. (SUF ¶ 78). In addition, multiple

location practices increase credentialing costs because a dentist must be credentialed (and period-

ically updated) for each individual location, thus multiplying the administrative costs by the

number of locations. (SUF ¶ 79). Given limited resources and cost-savings concerns, it is plainly

rational for the government to prefer practices without multiple locations, particularly given that

multiple-location practices can still be invited if access needs demand it. See, e.g., Moser

Const.Co., Inc. v. Cleveland Mun. Sch. Dist., 2008 WL 4445112, at *3 (N.D. Ohio Sep. 29,



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2008) (preference for union contractors over non-union contractors rationally related to legiti-

mate government interest); see also Council 31 of the Am. Fed’n of State, Cnty. Mun. Emps. v.

Quinn, 680 F.3d 875, 887 (7th Cir. 2012) (“Instituting cost-savings measures is unquestionably a

legitimate governmental interest.”)

               2.      Plaintiffs have failed to establish retaliation for exercising their First
                       Amendment rights

       To prevail on their retaliation claim, Plaintiffs must establish that (1) they were engaged

in constitutionally protected conduct; (2) DentaQuest USA’s adverse action caused them to suf-

fer an injury that would likely chill a person of ordinary firmness from continuing to engage in

that conduct; and (3) that the adverse action was motivated at least in part by Plaintiffs’ protected

conduct. See Wurlzelbacher v. Jones-Kelley, 675 F. 3d 580, 583 (6th Cir. 2012) (quoting Mezi-

bov v. Allen, 411 F.3d 712, 717 (6th Cir. 2012)). Here, Plaintiffs allege two different types of

constitutionally protected conduct: (1) speaking out against DentaQuest’s administration of

TennCare (Compl. ¶¶ 31-40, 57-59, 89); and (2) filing two lawsuits against Doral Dental of Ten-

nessee, LLC, a previous DBM. (Compl. ¶¶ 46-49, 55-56, 89). They further alleged that Den-

taQuest USA’s refusal to invite them to the new TennCare network was an adverse action that

would deter a person of ordinary firmness from continuing to engage in those protected activi-

ties. But no evidence—beyond Plaintiffs’ mere conjecture—links DentaQuest USA’s refusal to

invite them into the 2013 network to Plaintiffs’ past protected activity.

       For example, neither Polmatier nor Major knew that Dr. Snodgrass had “spoken out”

against DentaQuest USA or Doral. (SUF ¶¶ 64-65). Similarly, neither had any familiarity with

the lawsuits that Snodgrass had previously filed. (SUF ¶¶ 61-63). In fact, there is no evidence to

support that Dr. Snodgrass’s lawsuits or speech motivated DentaQuest USA’s decision not to

invite Snodgrass-King into the network. Plaintiffs instead ask the Court to assume that, because


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some DentaQuest USA employees (notably not senior management) previously worked at Doral

Dental, those employees harbored some long-simmering animus toward Dr. Snodgrass, and

(years later) retaliated against him by not inviting him into the 2013 network. Such conjecture

cannot withstand summary judgment. Arendale v. City of Memphis, 519 F.3d 587, 605 (6th Cir.

2008); Grizzell v. City of Columbus Div. of Police, 461 F.3d 711, 724 (6th Cir. 2006).

               3.      Plaintiffs have failed to establish a procedural due process claim

       To establish a procedural due process claim, Plaintiffs must establish that (1) they have a

life, liberty or property interest protected by the Fourteenth Amendment; (2) they were deprived

of that property interest within the meaning of the Due Process Clause; and (3) DentaQuest USA

did not afford them adequate procedural rights before depriving them of their protected property

interest. Wedgewood Ltd. P’ship v. Twp. of Liberty, Ohio, 610 F.3d 340, 349-50 (6th Cir. 2010).

Plaintiffs’ claim fails because they cannot establish a constitutionally protected property interest.

       Boiled to its essence, Plaintiffs’ claimed property interest is participating in the TennCare

network. (Compl. ¶ 96). But that claim is foreclosed by Latimer v. Robinson, Case No. 04-5828,

2005 WL 1513103 (6th Cir. June 21, 2005). In Latimer, plaintiff dentists alleged that they were

deprived of due process when TennCare refused to reimburse them for orthodontic services that

their licenses authorized them to perform. Id. at *1. Rejecting that claim, the Sixth Circuit held

that “[a] license to perform dental services … does not translate into an entitlement to receive a

particular business opportunity from the TennCare program.” Id; see also Necula v. Conroy, 13

Fed. App’x. 24, 26 (2d Cir. 2001) (finding that state Medicaid provider-physician “has no prop-

erty right to continued enrollment as a qualified provider”).

       Recognizing this obstacle, Plaintiffs attempt to repackage their claim, alleging that their

“prior contracts with Delta [Dental] . . . represented constitutionally protected property interests.”

(Compl. ¶ 96). But the new wrapping cannot change the package’s contents. The relief they seek
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is “restoring” their “membership in the TennCare dental provider network” (Compl. 23, Prayer

4(b))—relief not available through a due-process claim. Latimer, 2005 WL 1513103, at *1;

Necula, 13 Fed. App’x at 26; see also Painter v. City of Cincinnati, No. C-1-05-26, 2006 WL

2815296 at *4 (S.D. Ohio Sept. 28, 2006) (defendant who met eligibility requirements for permit

did not have property interest when standards for granting permit were discretionary). Moreover,

any prior contract with Delta Dental is irrelevant to Plaintiffs’ right to participate in the current

dental network. Delta Dental’s TennCare contract had ended, and its agreement with Plaintiffs

had been terminated. DentaQuest USA was creating a new network to which no provider be-

longed yet, as evidenced by TennCare’s revalidation process and DentaQuest USA’s entirely

new network building. (SUF ¶¶ 20, 30, 47, 82, 88, 93). Finally, if Plaintiffs’ reliance on their

2010 Contract with Delta Dental were correct, every provider with an old, since-terminated con-

tract would not just have a property interest, but a perpetual property interest. Such specious rea-

soning conflicts both with the 2013 Contract’s explicit statement that DentaQuest was not re-

quired to contract with a provider “merely because the provider was a TennCare provider prior to

the contract start date” (SUF ¶ 30) and with Latimer.

       Plaintiffs try to buttress this repackaged claim by citing Tenn. Code Ann. § 71-5-118, but

again they miss the mark. Section 71-5-118(a), entitled “Provider contracts; actions against pro-

vider; fraud,” states that, if a provider requests a hearing, the hearing shall be “held prior to the

imposition of any of the sanctions of this subsection (a).” As the title and context of § 71-5-118

indicate, however, the section is targeted at sanctions of existing providers. Here, Plaintiffs were

not sanctioned, were not an existing provider, and never lost their participation in the DentaQuest

USA-formed TennCare network at all. Rather, when the network was formed, they applied but

were not invited. (SUF ¶¶ 88-93). Moreover, the relevant TennCare administrative rules explicit-



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ly state that a provider has no right to appeal a “refusal to contract with the provider.” Tenn.

Comp. R. & Regs. 1200-13-19-.01(2)(a). If Plaintiffs’ argument were correct, every dentist in the

state would have a right to appeal a decision not to contract with him or her—an untenable result

flatly inconsistent with Tennessee’s lack of any-willing-provider requirement.45

                  4.        Plaintiffs have failed to establish a deprivation of federal rights based
                            on 42 U.S.C. § 1396u-2

         Finally, Plaintiffs claim that DentaQuest USA did not invite them into the 2013 TennCare

network because they served high-risk populations and specialized in conditions that require

costly treatment. They premise this claim on 42 U.S.C. § 1396u-2, which broadly prohibits a

Medicaid managed-care organization from discriminating against a provider who is acting within

the scope of his or her license. That same statute, however, states immediately thereafter that it

“shall not be construed to prohibit an organization from including providers only to the extent

necessary to meet the needs of the organization’s enrollees or from establishing any measure de-

signed to maintain quality and control costs consistent with the responsibilities of the organiza-

tion.” See 42 U.S.C. § 1396u-2. Acknowledging this language, Plaintiffs in previous briefing

pointed the Court to the implementing regulation’s language in 42 CFR § 438.214(c), which in-

cluded certain non-discrimination provisions. Plaintiffs maintained that that language created an

enforceable right in the underlying statute, § 1396u-2. Specifically, Plaintiffs quoted

§ 438.214(c) as follows:

         “provider selection policies and procedures . . . must not discriminate
         against particular providers that serve high-risk populations or specialize
         in conditions that require costly treatment.”
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  Alternatively, if Plaintiffs are truly asserting a property interest in their past contract with Delta Dental, then their
relief lies with Delta Dental, not with a different DBM, under a different contract, during a different time period. It
would appear, however, that even that claim would be foreclosed since Plaintiffs have never alleged that they lost
their TennCare participation while Delta Dental was the DBM.


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(Pls.’ Resp. in Opp. to DentaQuest USA’s Mot. to Dismiss at 24 (citing 42 C.F.R. § 438.214(c)).

       Tellingly, however, Plaintiffs’ selective quotation omitted the language that eviscerates

their arguments. Stated in full, 42 CFR § 438.214(c) provides:


       (c) Nondiscrimination. MCO, PIHP, and PAHP provider selection policies and
       procedures, consistent with § 438.12, must not discriminate against particular
       providers that serve high-risk populations or specialize in conditions that require
       costly treatment.”

42 C.F.R. § 438.214(c) (emphasis added). The bolded phrase, omitted by ellipses in Plaintiffs’

version, incorporates Section 438.12, which states that:

         (a) General rules. (2) In all contracts with health care professionals, an MCO,
         PIHP, or PAHP must comply with the requirements specified in §438.214.

         (b) Construction. Paragraph (a) of this section may not be construed to –
         (1) Require the MCO, PIHP, or PAHP to contract with providers beyond
         the number necessary to meet the needs of its enrollees; (2) Preclude the
         MCO, PIHP, or PAHP from using different reimbursement amounts for differ-
         ent specialties or for different practitioner in the same specialty group; or (3)
         Preclude the MCO, PIHP, or PAHP from establishing measures that are
         designed to maintain quality of services and control costs and are con-
         sistent with its responsibilities to enrollees.

42 C.F.R. § 438.12 (a)(2), (b)(1) and (3) (emphasis added). In other words, the implementing

regulation contains the same limiting construction as § 1396u-2, namely, that its non-

discrimination prohibition may not be construed as requiring the MCO from contracting with

providers beyond those necessary to meet the needs of enrollees or from establishing cost-control

measures. Thus, contrary to Plaintiffs’ assertions, the statute and its implementing regulations do

not create a federal guarantee or right to participate in the TennCare dental provider network.

       Second, Plaintiffs’ claim cannot survive summary judgment even if their (incorrect) read-

ing of the law did apply. Plaintiffs have failed to develop any evidence to suggest that their prac-

tice serves a materially different patient population than other TennCare providers. Indeed, all or

nearly all TennCare dental providers serve high-risk populations or patients with costly treat-

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ments. (SUF ¶ 96). And equally fatal, Plaintiffs have adduced no evidence that DentaQuest

USA’s decision not to invite them into the network was in anyway motivated by their treating

high-risk populations or specializing in costly treatments.

       C.      If Any Claims Survive, the Damages Must Still Be Narrowed

       Even if some of Plaintiffs’ claims survive summary judgment, Plaintiffs are not entitled

to speculative lost-profit damages based on a speculative contract extension, punitive damages,

or injunctive relief where money damages have been adequately quantified. Accordingly, even if

some of Plaintiffs’ claims were to survive, Plaintiffs’ damages must be substantially narrowed.

               1.      Plaintiffs are not entitled to speculative damages for the potential ex-
                       tension period of the 2013 Contract

       Section 1983 entitles plaintiffs to seek compensation “for injuries caused by the depriva-

tion of constitutional rights.” Carey v. Piphus, 435 U.S. 247, 254 (1978). The purpose of com-

pensatory damages “is to compensate the injured party for the costs of the injury.” Pembaur v.

Cincinnati, 882 F.2d 1101, 1104 (6th Cir. 1989) (citing Memphis Comm. Sch. Dist. v. Stachura,

477 U.S. 299, 307 (1986)). Accordingly, “no compensatory damages may be awarded absent

proof of actual injury.” Pembaur, 882 F.2d at 1104 (quoting Stachura, 477 U.S. at 309-10).

       Damages in a § 1983 case are “ordinarily determined according to principles derived

from the common law of torts.” Pembaur, 882 F.2d at 1104. Thus, a court must determine

“whether there is a common law analog to the constitutional tort being alleged.” Id. at 1105. The

Sixth Circuit has recognized that § 1983 does not “provide adequate guidance to determine the

measure of damages available in an action for a violation of a claimant’s civil rights.” Tinch v.

City of Dayton, Nos. 94-3436, 94-3516, 1996 WL 77445, at *1 (6th Cir. 1996); see also Frontier

Ins. Co. v. Blaty, 454 F.3d 590, 598 (6th Cir. 2006). Accordingly, 42 U.S.C. § 1988 directs the

court to turn to the common law of the forum state. Tinch, 1996 WL 77445, at *1.


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       Under Tennessee law, “[a]n injured party may recover lost anticipated profits when their

nature and occurrence have been established with reasonable certainty.” Ingram Barge Co. v.

Century Aluminum of West Virginia, Inc., No. 10-00110, 2012 WL 3150666, at *10 (M.D. Tenn.

Aug. 1, 2012) (citing Waggoner Motors, Inc. v. Waverly Church of Christ, 159 S.W.3d 42, 47

(Tenn. Ct. App. 2005) (emphasis added). As a general rule, “damages are not permitted which

are remote and speculative in nature.” Grantham & Mann, Inc. v. Amer. Safety Prods., Inc., 831

F.2d 596, 601 (6th Cir. 1987) (citing Agric. Servs. Ass’n v. Ferry-Morse Seed Co., 551 F.2d

1057, 1072 (6th Cir. 1977); Maple Manor Hotel, Inc. v. Metro. Gov’t of Nashville & Davidson

Cnty., 543 S.W.2d 593, 598-99 (Tenn. Ct. App. 1975)).

       Here, Plaintiffs are not entitled to any compensatory damages that extend beyond Den-

taQuest USA’s current three-year contract term because such damages are purely speculative.

DentaQuest USA holds a three-year contract with the State of Tennessee to serve as the DBM

until September 30, 2016. (SUF ¶ 20). Although the State has the right to extend the contract for

additional one-year terms, such extension is not guaranteed. (SUF ¶¶ 45-46). Indeed, the last

TennCare-DBM contract with Delta Dental was not extended beyond the original three-year

term. (SUF ¶¶ 13-15, 46). Thus, no one can state with reasonable certainty that the State will ex-

ercise its right to extend DentaQuest USA’s contract.

       Significantly, Tennessee courts have rejected lost-profit damages claims based on similar

speculation about renewals. In B & L Corp. v. Thomas & Thordgren, Inc., the court found that

defendants had intentionally induced the breach of plaintiff’s contract with a third party. 162

S.W.3d 189, 221 (Tenn. Ct. App. 2004). The plaintiff’s contract with the third party could, how-

ever, be renewed yearly at the third party’s option. See id. In reversing the trial court, the Court

of Appeals concluded that there was “no evidence that [the third party] would have chosen to



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renew their contract” with the plaintiff, and thus the court was “unwilling to conclude or assume”

that the contract would have renewed. Id. As in B & L Corp., there is no evidence here that the

State will renew its TennCare contract with DentaQuest USA beyond the current term ending on

September 30, 2016. Accordingly, any lost-profit damages based on the renewal periods are

speculative and should not be awarded.

               2.     Plaintiffs are not entitled to punitive damages

       Punitive damages are appropriate under 42 U.S.C. § 1983 “when the defendant’s conduct

is shown to be motivated by evil motive or intent, or when it involves reckless or callous indif-

ference to the federally protected rights of others.” King v. Zamiara, 788 F.3d 207, 216 (6th Cir.

2015) (citing Smith v. Wade, 461 U.S. 30, 56 (1983)). Punitive damages may be granted “only on

a showing of the requisite intent.” Stachura, 477 U.S. at 306 n.9. “[A] key feature of punitive

damages [is] that they are never awarded as of right, no matter how egregious the defendant’s

conduct. Rather, once the plaintiff proves that the defendant’s conduct triggers consideration of

punitive damages, the factfinder makes the discretionary moral judgment whether or not to

award punitive damages.” Zamiara, 788 F.3d at 217 (international citations omitted).

       Here, nothing in the record suggests that DentaQuest USA possessed the requisite intent

in its conduct towards Plaintiffs to support an award of punitive damages. To the contrary, testi-

mony consistently shows that it had a lawful basis for not inviting Snodgrass-King into the net-

work— namely that, as part of the network-building process, Snodgrass-King was set aside as a

large, multiple location provider. Because no additional access needs were identified in the areas

where Snodgrass-King practiced, it was not invited into the network. (SUF ¶¶ 92-93). While

Polmatier and Major identified Dr. Snodgrass early on as a provider who they did not want to

invite into the network (SUF ¶¶ 56-59), their preliminary view was based sound network-

building concerns (SUF ¶¶ 54-59), was consistent with past practice (SUF ¶ 60), and was not a
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final determination (SUF ¶ 62). Most importantly, nothing in that early identification suggests an

improper—much less unconstitutional—basis for that decision. In short, no evidence suggests

that DentaQuest USA acted with the requisite “evil motive or intent, or . . . reckless or callous

indifference” toward Plaintiffs’ federally protected rights by not inviting Snodgrass-King into the

TennCare dental network. King, 788 F.3d at 216. Accordingly, punitive damages are foreclosed.

               3.      Plaintiffs are not entitled to injunctive relief

       To obtain permanent injunctive relief, a plaintiff must demonstrate “(1) that it has suf-

fered an irreparable injury; (2) that remedies available at law, such as monetary damages, are in-

adequate to compensate for that injury; (3) that, considering the balance of hardships between the

plaintiff and defendant, a remedy in equity is warranted; and (4) that the public interest would

not be disserved by a permanent injunction.” Chute v. Odom, 2013 WL 4587903 (M.D. Tenn.

2013) (citing eBay, Inc. v. MercExchange, LLC, 547 US 388, 391 (2006)). Here, Plaintiffs fail

the first and second elements. Because they assert a damages claim and have quantified it

through their expert report on lost profits, there is no basis for injunctive relief. Accordingly, the

court should enter summary judgment on their claim for reinstatement.

V.     CONCLUSION

       Plaintiffs’ claims fail because DentaQuest USA’s decision not to invite Plaintiffs into the

new TennCare provider network is not state action. Every relevant feature of that decision—from

the 2013 Contract’s risk-sharing and other terms, to DentaQuest USA’s full discretion and inde-

pendent authority for network decisions, to TennCare’s complete lack of participation or over-

sight in network decisions—demonstrates that it does not constitute state action under Sullivan

and the many cases concluding that MCO-type organizations are not state actors. Moreover, the

lack of state action aside, Plaintiffs’ claims fail because no evidence supports the alleged under-



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lying constitutional and legal claims. For those reasons, the Court should grant DentaQuest

USA’s motion and enter summary judgment in its favor.



                                          Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been served via the
Court’s electronic filing system to:

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